                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION

JANE DOE 1, et al.,                          )
                                             )
       Plaintiffs,                           )
vs.                                          )      Case No.: 2:19-CV-04229-NKL
                                             )
THE CURATORS OF THE                          )
UNIVERSITY OF MISSOURI,                      )
                                             )
       Defendant.                            )


        MEMORANDUM TO COURT REGARDING STATUS OF SETTLEMENT

       COME NOW Plaintiffs Jane Doe 1 and Jane Doe 2 and, pursuant to the Court’s Order of

September 20, 2022, hereby notify the Court that the Parties have reached a settlement of the

claims in this case. The Parties will file a Stipulation of Dismissal once the settlement has been

finalized.

                                                    Respectfully Submitted,

                                                    CARMODY MacDONALD P.C.

                                                    By: /s/ Ryann C. Carmody
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                        CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on the 27th day of September, 2022, the
forgoing was served on all counsel of record by operation of this Court’s Electronic Filing
System.


                                                            /s/ Ryann C. Carmody




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